                    Case 3:19-cv-00617-WQH-KSC Document 1 Filed 04/02/19 PageID.1 Page 1 of 9



               1      Jane M. Flynn, Bar No. 167466
                      FEDERAL EXPRESS CORPORATION
               2      2601 Main Street, Suite 340
                      Irvine, California 92614
               3      Telephone: (949) 862-4643
                      Facsimile: (901) 492-5641
               4      E-mail: jane.flynn@fedex.com
               5      Attorney for Defendant
                      FEDEX CORPORATION
               6
               7
               8                                 UNITED STATES DISTRICT COURT
               9                               SOUTHERN DISTRICT OF CALIFORNIA
            10
            11        PATRICIA CARLIN, an individual,                       '19CV0617 WQHKSC
                                                                  Case No. ______________________
            12                             Plaintiff,             (San Diego Superior Court Case No.
                                                                  37-2019-00011831-CU-WT-CTL)
            13                 v.
            14        FEDEX CORPORATION, a California                PETITION AND NOTICE OF
                      corporation dba FedEx; and DOES 1              REMOVAL OF CIVIL ACTION
            15        through 50, inclusive,                         UNDER ARTICLE III OF THE U.S.
                                                                     CONSTITUTION and 28 U.S.C. §§
            16                             Defendants.               1332, 1441 & 1446
            17                                                       [DIVERSITY JURSIDICTION]
            18                                                    Complaint Filed: March 4, 2019
                                                                  Trial Date: None Set
            19
            20
            21                 TO THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
            22        DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HER COUNSEL OF
            23        RECORD:
            24                 PLEASE TAKE NOTICE that Defendant, FEDEX CORPORATION, removes
            25        this action from the Superior Court of California County of San Diego to the United
            26        States District Court for the Southern District of California on the following grounds:
            27
            28
FEDERAL EXPRESS
   CORPORATION        1332509 (60-17419)                         1
2601 MAIN STREET                                                        PETITION AND NOTICE OF REMOVAL OF CIVIL ACTION
     SUITE 340
 IRVINE, CA 92614
                    Case 3:19-cv-00617-WQH-KSC Document 1 Filed 04/02/19 PageID.2 Page 2 of 9



               1                                               INTRODUCTION
               2               1.          This Court has jurisdiction over this action because it is a controversy
               3      between citizens of different states and therefore satisfies diversity of citizenship
               4      requirements as contemplated by Article III, Section Two of the United States
               5      Constitution and 28 U.S.C. §§1332 and 1441(b).
               6               2.          FedEx Corporation is incorporated in Delaware, and its headquarters and
               7      principal place of business is in Memphis, Tennessee. (Declaration of Shahram A.
               8      Eslami (“Eslami Decl.”), at ¶ 3).
               9               3.          Federal Express Corporation is a wholly-owned subsidiary of FedEx
            10        Corporation. Federal Express Corporation is incorporated in Delaware, and its
            11        headquarters and principal place of business is in Memphis, Tennessee. (Eslami Decl.,
            12        at ¶ 4).
            13                 4.          Defendant is informed and believes Plaintiff is a resident of California
            14        and is domiciled in California. Plaintiff alleges that at all times mentioned in the
            15        Complaint she was a person entitled to the protection of the laws afforded by
            16        Government Code § 12940 et. seq. (Complaint ¶ 19) Plaintiff names FEDEX
            17        CORPORATION as a defendant, but she was employed by Federal Express
            18        Corporation from 1982 until 2018. According to Federal Express Corporation’s
            19        employee records on Plaintiff, since 1982 she has lived in Moreno Valley, California.
            20        According to Federal Express Corporation’s employee records, since 1982 Plaintiff
            21        worked for Federal Express Corporation at various locations in California.
            22        (Declaration of Kathy Miller (“Miller Decl.”), at ¶¶ 8, 9 and Exhibits A, E and F).
            23        Accordingly, Plaintiff is a citizen of California.
            24                 5.          The Complaint was served on FedEx Corporation and Federal Express
            25        Corporation’s agent for service of process, CT Corp, on March 8, 2019. Pursuant to
            26        28 U.S.C. § 1446(b) (3), this case is being removed within thirty (30) days of service
            27        of documents from which it could first be ascertained this case was removable. (Miller
            28        Decl., at ¶ 5; Notification of Service from CT Corp attached hereto as Exhibit B).
FEDERAL EXPRESS
   CORPORATION        1332509 (60-17419)                                2
2601 MAIN STREET                                                              PETITION AND NOTICE OF REMOVAL OF CIVIL ACTION
     SUITE 340
 IRVINE, CA 92614
                    Case 3:19-cv-00617-WQH-KSC Document 1 Filed 04/02/19 PageID.3 Page 3 of 9



               1               7.          As shown below, the amount in controversy exceeds $75,000.00.
               2                                       THE STATE COURT ACTION
               3               8.          On or about March 4, 2019, Plaintiff filed an action entitled “PATRICIA
               4      CARLIN, an individual, Plaintiff vs. FEDEX CORPORATION, a California
               5      corporation; Does 1 through 50, inclusive, Defendants” in the Superior Court of
               6      California County of San Diego, Case Number 37-2019-00011831-CU-WT-CTL (the
               7      “Complaint” or “State Court Action”). True and correct copies of the Summons,
               8      Complaint, Notice of Case Assignment and Case Management Conference, Notice of
               9      Eligibility to eFile and Assignment to the Imaging Department, Superior court of
            10        California, County of San Diego Alternative Dispute Resolution (ADR) Information,
            11        and Stipulation to Use Alternative Dispute Resolution (ADR) are attached as Exhibit
            12        “C” hereto.
            13                 9.          On March 8, 2019, Plaintiff served the Complaint on CT Corporation,
            14        agent for service of process for FedEx Corporation. A true and correct copy of the
            15        Service of Process Transmittal Form from CT Corporation is attached as Exhibit “B”
            16        hereto.
            17                 10.         In her Complaint, Plaintiff alleged the following causes of action: (1)
            18        Sexual Harassment; (2) Failure to Take All Reasonable Steps to Prevent Harassment
            19        and Retaliation; (3) Retaliation under Gov’t Code §§ 12940(h) and 12653, and Labor
            20        Code § 1102.5; (4) Wrongful Constructive Termination; and (5) Unfair Business
            21        Practices. (Complaint generally).
            22                 11.         In her Complaint, Plaintiff alleges she has sustained and continues to
            23        sustain lost earnings, benefits, non-economic damages, emotional distress damages,
            24        general damages, and special damages. (Complaint ¶¶ 25, 26, 27, 34, 35, 36). Plaintiff
            25        seeks recovery of punitive damages and attorney’s fees. (Complaint ¶¶ 28, 29, 37, 38
            26        prayer for relief).
            27
            28
FEDERAL EXPRESS
   CORPORATION        1332509 (60-17419)                               3
2601 MAIN STREET                                                              PETITION AND NOTICE OF REMOVAL OF CIVIL ACTION
     SUITE 340
 IRVINE, CA 92614
                    Case 3:19-cv-00617-WQH-KSC Document 1 Filed 04/02/19 PageID.4 Page 4 of 9



               1                  THE AMOUNT IN CONTROVERSY EXCEEDS THE $75,000.00
               2                                        JURISDICTIONAL MINIMUM
               3               12.         In an action by a single plaintiff against a single defendant, all claims can
               4      be aggregated to meet the minimum jurisdictional amount. Bank of Cal. v. Twin
               5      Harbors Lumber Co., 465 F.2d 489, 491 (9th Cir. 1972). Counsel’s testimony
               6      itemizing the bases for a plaintiff’s damages claims has been held sufficient to
               7      establish the jurisdictional minimum for diversity jurisdiction. Gafford v. Gen. Elec.
               8      Co., 997 F. 2d 150, 160-161 (6th Cir. 1993).
               9               13.         In determining whether the amount in controversy exceeds $75,000.00,
            10        the Court must presume Plaintiff will prevail on every one of her claims. Kenneth
            11        Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 993, 1001 (C.D. Cal.
            12        2002) (citing Burns v. Windsor Ins. Co., 31 F. 3d 1092, 1096 (11th Cir. 1994) (the
            13        amount in controversy analysis presumes that “plaintiff prevails on liability”) and
            14        Angus v. Shiley Inc., 989 F. 2d 142, 146 (3d Cir. 1993) (“the amount in controversy is
            15        not measured by the low end of an open-ended claim, but rather by a reasonable
            16        reading of the value of the rights being litigated”)). The argument and facts set forth
            17        may appropriately be considered in determining whether the jurisdictional amount in
            18        controversy is satisfied. Cohn v. Petsmart, Inc., 281 F. 3d 837, 843, n.1 (9th Cir.
            19        2002) (citing Willingham v. Morgan, 395 U.S. 402, 407, n.3 (1969)).
            20                 14.         The amount in controversy may include general and special
            21        compensatory damages and attorney’s fees which are recoverable by statute. Galt G/S
            22        v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998). In determining whether a
            23        Complaint meets the amount in controversy requirement, attorneys’ fees are to be
            24        included. See, e.g., Guglielmino v. McKee Foods Corp., 506 F.3d 696, 700 (9th Cir.
            25        2007); Jasso v. Money Mart Express, Inc., Civil Action No. 11-CV-5500 YGR, 2012
            26        WL 699465 (N.D. Calif. March 1, 2012).
            27                 15.         In her Complaint, Plaintiff alleges she suffered lost earnings and benefits,
            28        non-economic damages, emotional distress damages, general damages, and special
FEDERAL EXPRESS
   CORPORATION        1332509 (60-17419)                                  4
2601 MAIN STREET                                                                 PETITION AND NOTICE OF REMOVAL OF CIVIL ACTION
     SUITE 340
 IRVINE, CA 92614
                    Case 3:19-cv-00617-WQH-KSC Document 1 Filed 04/02/19 PageID.5 Page 5 of 9



               1      damages. (Complaint ¶¶ 25, 26, 27). Plaintiff’s employment ended when she resigned
               2      on December 3, 2018. Plaintiff’s lost wages as of the date of removal are $24,271
               3      ($33.71 times 40 hours per week for 18 weeks since her December 3, 2018
               4      resignation). (Complaint ¶ 10; Miller Decl. ¶ 10 and Exhibit E at page 1) If the case
               5      goes to trial a year from removal (April 8, 2020), Plaintiff’s lost wages will be
               6      $94,387 ($33.71 times 40 hours per week for 52 weeks ($70,116) plus $24,217).
               7      While employed by Federal Express Corporation, Plaintiff was enrolled in healthcare,
               8      dental and vision insurance. The monthly cost for Plaintiff to continue this coverage
               9      under COBRA is $1047.32. (Miller Decl. ¶ 11 and Exhibit F). If this case goes to trial
            10        a year from removal, the cost of replacement benefits will be $12,567.84.
            11                 16.         Plaintiff seeks recovery of punitive damages. Punitive damages are also
            12        included in calculating the amount in controversy. Davenport v. Mutual Ben. Health
            13        & Acc. Ass’n, 325 F. 2d 785, 787 (9th Cir. 1963); see also Aucina v. Amoco Oil Co.,
            14        871 F. Supp. 332 (S.D. Iowa 1994).
            15                 17.         Although FedEx vigorously denies Plaintiff’s allegations, if she prevails
            16        and establishes the requirements of California Civil Code section 3294, the punitive
            17        damages alone could exceed the jurisdictional minimum. “To assess the amount of
            18        punitive damages that is appropriate in a given case, the court considers the nature of
            19        the defendant’s wrongdoing, the amount of compensatory damages, and the wealth of
            20        the particular defendant.” Am. Gen. Life & Accident Ins. Co. v. Findley, 2013 U.S.
            21        Dist. LEXIS 41644, 48-49 (C.D. Cal. Mar. 15, 2013). The potential punitive damage
            22        award against a defendant such as FedEx Corporation alone may satisfy the amount in
            23        controversy requirement. In Aucina v. Amoco Oil Co., the defendant-employer
            24        established that the amount in controversy exceeded the jurisdictional minimum where
            25        the former employee asserted claims for lost wages, lost benefits, mental anguish, and
            26        punitive damages. The court noted the defendant was a Fortune 500 Company and that
            27        [b]ecause the purpose of punitive damages is to capture a defendant’s attention and
            28        deter others from similar conduct “the plaintiff’s claim for punitive damages” might
FEDERAL EXPRESS
   CORPORATION        1332509 (60-17419)                                5
2601 MAIN STREET                                                               PETITION AND NOTICE OF REMOVAL OF CIVIL ACTION
     SUITE 340
 IRVINE, CA 92614
                    Case 3:19-cv-00617-WQH-KSC Document 1 Filed 04/02/19 PageID.6 Page 6 of 9



               1      alone exceed the jurisdictional minimum. Aucina, 871 F.Supp. at 334.
               2               18.         Plaintiff alleges retaliation in violation of Labor Code § 1102.5.
               3      (Complaint ¶ 44). Labor Code section 1102.5(f) provides for a $10,000 penalty per
               4      alleged violation of section 1102.5. In her Complaint, Plaintiff alleges seven incidents
               5      of retaliation, equating to $70,000 in penalties. (Complaint ¶¶ 13, 14, 15, 16).
               6               19.         Plaintiff seeks attorney’s fees. (Complaint, prayer for relief). The Ninth
               7      Circuit recently held “a court must include future [post-removal] attorneys’ fees
               8      recoverable by statute or contract when assessing whether the amount-in-controversy
               9      was met.” Fritsch v. Swift Transportation Company of Arizona, LLC, 899 F.3d 785,
            10        794 (9th Cir. 2018). If litigated through trial, attorney’s fees will exceed $75,000.00.
            11        (Flynn Decl., at ¶ 4). The Court may take judicial notice of attorney’s fee awards in
            12        similar cases. Cases in the Ninth Circuit firmly establish that statutory attorney’s fees
            13        will be included as a basis for determining the jurisdictional amount in controversy.
            14        See Galt G/S, 142 F.3d at 1155-56. Attorney’s fees are calculable beyond the time of
            15        removal. Fritsch, 899 F.3d at 794; Simmons, 209 F. Supp. 2d at 1035. In 2013, the
            16        Superior Court of Sacramento County awarded a single plaintiff $367,378.50 in
            17        attorneys’ fees under the Fair Employment and Housing Act on a claim for wrongful
            18        termination and discrimination. Angel v. Sutter Health et al, case number 2009-
            19        00055279. Similarly, in 2012 the Orange County Superior Court awarded a single
            20        plaintiff $295,535.50 in attorney’s fees under the Fair Employment and Housing Act
            21        on a claim for discrimination and failure to accommodate. Vargas v. City of Long
            22        Beach, case number 30-2009-00126342. Based on defense counsel’s 25 plus years of
            23        experience litigating employment claims, counsel believes the attorney’s fee exposure
            24        is $250,000. (Declaration of Jane M. Flynn at ¶ 4).
            25                 20.         Plaintiff seeks emotional distress damages. In Hettick v. Federal Express
            26        Corporation, Santa Clara County Superior Court case number 103-CV-010014,
            27        Hettick alleged a co-worker had an obsessive crush on her and sexually harassed her,
            28        management did not take sufficient action to stop the harassment, and Hettick was
FEDERAL EXPRESS
   CORPORATION        1332509 (60-17419)                                 6
2601 MAIN STREET                                                               PETITION AND NOTICE OF REMOVAL OF CIVIL ACTION
     SUITE 340
 IRVINE, CA 92614
                    Case 3:19-cv-00617-WQH-KSC Document 1 Filed 04/02/19 PageID.7 Page 7 of 9



               1      constructively discharged as a result. In 2005, a jury awarded Hettick $200,000 in
               2      emotional distress damages. In Jody Gardner Clanahan v. David Diaz, USDC Eastern
               3      District of California case number 1:05-CV-796, Clanahan, a teacher, alleged sexual
               4      harassment by the vice principal and that the school district failed to investigate or
               5      take appropriate corrective action. In 2007, the jury awarded Clanahan $350,000 in
               6      emotional distress damages against the school district.
               7               21.         Removal of the case to federal court under Article III of the United States
               8      Constitution is available to FedEx Corporation and Federal Express Corporation
               9      because this is a civil action between citizens of different states and the amount in
            10        controversy, based upon Plaintiff’s claims and verdicts in similar cases, exceeds
            11        $75,000.00, exclusive of interest and costs.
            12                                              REMOVAL IS TIMELY
            13                 22.         The 30-day removal period runs when the party seeking to remove
            14        receives a “paper from which it may first be ascertained that the case is . . .
            15        removable.” 28 U.S.C. § 1446(b)(3).
            16                 23.         FedEx Corporation first became aware this action was removable upon
            17        service of the Complaint and Summons on March 8, 2019. Because defendant filed
            18        this notice of removal within 30 days of notice, the removal is timely.
            19                                                   CONCLUSION
            20                 24.         Because this civil action is between citizens of different states and the
            21        matter in controversy is claimed to be over $75,000.00, exclusive of interest and costs,
            22        this Court has original jurisdiction over it, and FedEx Corporation may remove the
            23        action to this Court under Article III of the United States Constitution and 28 U.S.C.
            24        §§1332 and 1441(b).
            25        ///
            26        ///
            27        ///
            28        ///
FEDERAL EXPRESS
   CORPORATION        1332509 (60-17419)                                 7
2601 MAIN STREET                                                                PETITION AND NOTICE OF REMOVAL OF CIVIL ACTION
     SUITE 340
 IRVINE, CA 92614
                    Case 3:19-cv-00617-WQH-KSC Document 1 Filed 04/02/19 PageID.8 Page 8 of 9



               1               25.         Defendant respectfully requests this Court exercise its removal
               2      jurisdiction over this action.
               3      DATED: April 2, 2019                      Respectfully submitted,
               4
                                                                By:      /s/ Jane M. Flynn
               5                                                   Jane M. Flynn
               6                                                   Attorney for Defendant
                                                                   FEDEX CORPORATION
               7
               8
               9
            10
            11
            12
            13
            14
            15
            16
            17
            18
            19
            20
            21
            22
            23
            24
            25
            26
            27
            28
FEDERAL EXPRESS
   CORPORATION        1332509 (60-17419)                            8
2601 MAIN STREET                                                          PETITION AND NOTICE OF REMOVAL OF CIVIL ACTION
     SUITE 340
 IRVINE, CA 92614
                    Case 3:19-cv-00617-WQH-KSC Document 1 Filed 04/02/19 PageID.9 Page 9 of 9


                1                                       CERTIFICATION OF SERVICE

               2                                    Carlin, Patricia v. FedEx Corporation
                                                SDSC- Case No. 37-2019-00011831-CU-WT-CTL
               3
                              I am a resident of the State of California, over the age of eighteen years, and not a party to
               4      the within action. My business address is Federal Express Corporation, 2601 Main Street, Suite
                      340, Irvine, California 92614.
               5
                                On April 2, 2019, I served the within document(s):
               6
                                     PETITION AND NOTICE OF REMOVAL OF CIVIL ACTION UNDER
               7                            ARTICLE III OF THE U.S. CONSTITUTION AND
                                                    28 u.s.c. §§ 1332, 1441 & 1446
               8
                      D         by transmitting via facsimile the document(s) listed above to the fax number(s) set fotih
               9                below.
                                by placing the document(s) listed above in a sealed envelope, with postage thereon fully
              10                prepaid, in the United States mail at Irvine, California, addressed as set fo1ih below.

              11      D         by arranging with First Legal Attorney Service to personally deliver the document(s) listed
                                above to the person(s) at the address(es) set fotih below.
              12      D         by placing the document(s) listed above in a sealed envelope, with delivery fees provided
                                for, addressed as follows, for collection by Federal Express for overnight delivery at Federal
              13                Express Corporation, 2601 Main Street, Suite 340, Irvine, California 92614, in accordance
                                with Federal Express Corporation's ordinary business practices.
              14
                                                               Edward Antonino, Esq.
             15                                         LAW OFFICE OF EDWARD ANTONINO
                                                            15760 Ventura Blvd., Suite 700
             16                                                  Encino, CA 91436

              17                                               Telephone: (818) 995-94 77
                                                             Email: ea@,ca-workers-rights.com
              18
                                                            Attorney for Plaintiff, Patricia Carlin
              19
                      D         (State) I declare under penalty of pe1jury under the laws of the State of California that the
             20                 above is true and correct.

             21       !RI       (Federal) I declare that I am employed in the office of a member of the bar of this cou1i at
                                whose direction the service was made.
             22
                                Executed on April 2, 2019, at Irvine, California.
             23

             24

             25

             26

             27

             28
FEDERAL EXPRESS
  C ORPORATION
2601 MAIN STREET
     SUITE340         1330999 (60-1 741 9)
 IRVINE, CA 92614
                                                              CERTIFICATE OF SERVICE
